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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                           Case No. 14-CR-20273
v.                                                         HON. GEORGE CARAM STEEH

D-1 JOHNNY TROTTER, II, M.D.,
D-3 ELAINE LOVETT

                Defendant.
_____________________________/

      ORDER DENYING DEFENDANTS’ MOTION FOR BILL OF PARTICULARS

       The decision to order a bill of particulars is within the discretion of the district

court. United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993). A bill of

particulars has three purposes (1) to insure that the defendant understands the nature

of the charges against him to enable him to prepare for trial; (2) to avoid or minimize the

danger of unfair surprise at trial; (3) to enable the defendant to plead double jeopardy if

they are later charged with the same crime if the indictment itself is too vague and

indefinite. United States v. Brimley, 529 F.2d 103, 108 (6th Cir. 1976). Although

defendants are entitled to notice of the precise nature of the charges against them, a bill

of particulars “is not meant as a tool for the defense to obtain detailed disclosure of all

evidence held by the government before trial.” Salisbury, 983 F.2d at 1375.

       Here, Defendant Trotter filed a motion requesting a bill of particulars identifying

which patient files are the subject of fraudulent billing and how the Government intends

to prove approximately $25 million in Medicare Fraud. Defendant Lovett thereafter filed

a notice of joinder in this motion. But Defendant Trotter’s motion references details of



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the individual counts set forth in the superseding indictment, patient files listed in the

Government’s trial exhibit list, and individual’s identified in the Government’s trial

witness list. Furthermore, loss is not an element of any of the charges against

Defendants. Thus, the Court finds Defendants have sufficient information to prepare for

trial, avoid surprise, and avoid double jeopardy.

       IT IS HEREBY ORDERED that Defendants’ motion for bill of particulars is

DENIED.

       SO ORDERED.
                                              s/George Caram Steeh
Dated: October 21, 2016                       GEORGE CARAM STEEH
                                              UNITED STATES DISTRICT JUDGE



                            CERTIFICATE OF SERVICE

             Copies of this Order were served upon attorneys of record on
                October 21, 2016, by electronic and/or ordinary mail.

                                   s/David Parker
                                    Deputy Clerk




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